
SteRNHAGEN,
dissenting: The petitioner is taxable at war rates upon such proportion of its income as was attributable to its original Government contract. Some of its income was apparently attributable to the new contract, but not all of it. Plainly more that $10,000 was from work under the original contract, and section 301 requires that under such circumstances, an apportionment must be made and the war rates applied to the portion of the income which is attributable to the war contract. While I agree that there was a new contract, it does not follow that all of the income is attributable alone to the new contract. A substantial part of it was earned before the new contract was made. In the Goss case there was, so far as the report shows, no income from the original con*278tract, which was made a few days before the Armistice; no manufacturing was done under the original contract and nothing was earned. The corporation had merely provided itself with some machinery in anticipation of securing a war contract, but before performance began the new peace-time contract was made.
MoRRis and ARTjndell agree with this dissent.
